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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


United States of America,

                                         Criminal No. 20-20538

v.                                       Hon. David M. Lawson

Matthew Darrel Childers,

               Defendant.

__________________________________________________________________

               The United States of America’s Trial Brief
       in the matter of United States v. Matthew Darrel Childers
__________________________________________________________________


          This is a straightforward case about a defendant who sexually

exploited his girlfriend’s child.

     I.     Introduction: Statement of Charges

          In spring 2020, MV-1’s mother reported Defendant’s criminal

sexual behavior to the Taylor Police Department. She produced MV-1’s

phone, which contained dozens of sexually explicit messages between

MV-1 and Defendant. After a Covid delay, MV-1 met with a child forensic

interviewer. She disclosed sexual abuse.
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         Knowing that law enforcement was investigating him for criminal

sexual contact of a minor, Defendant presented himself to the Taylor

police station and proceeded to show the detective the child pornographic

videos of MV-1 that he saved in his phone. The detective seized the phone

and found approximately eight sexually explicit videos and dozens of

nude photos of the child. When he came back to pick up his phone,

Defendant denied—then admitted—that he had sex with MV-1. A grand

jury subsequently handed up an indictment, charging him with

production, receipt, and possession of child pornography. (ECF No. 9,

PageID.21). Defendant has pleaded not guilty and elected to proceed to

trial. Trial in this matter is set to begin on June 13, 2023.

   II.     Matters for an orderly trial

           A.    Mutual sequestration of witnesses

         The United States moves this Court to enter an order of

sequestration for all potential witnesses in this case, except for SA David

Alley, HSI, the case agent who will be sitting at the prosecution table.

Defense concurs in this request.

           B.    Agreements by the parties as to “off-limits” topics

         The parties have no formal stipulations to enter into evidence at

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trial. But both parties have agreed that any mention of a polygraph

exam, or offers to take polygraph exams, will not be discussed in front

of the jury. The parties also agree to refrain from discussing Defendant’s

pending state Criminal Sexual Conduct charges out of Wayne County in

its case-in-chief. Should Defendant testify and open the door, however,

the United States reserves the right to cross examine Defendant on his

pending charges.

           C.   Expert and fact witnesses: recalling the case agent

      SA David Alley will be testifying as both a fact witness and an

opinion (expert) witness. The United States is seeking to call him to the

stand twice in order to keep his testimony cabined. Defense has no

objection.

      Amy Allen may also be testifying as both a fact witness and an

opinion (expert) witness. But because her factual testimony is limited,

the United States does not intend to recall her. Instead, the examining

AUSA will clearly demarcate the transition in questioning from fact to

opinion.

      Federal Rule of Evidence 611(a) allows a district court to “exercise

reasonable control over the mode and order of interrogating witnesses


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and presenting evidence,” as long as it “make[s] the interrogation and

presentation effective for the ascertainment of the truth.” See also United

States v. Lash, 937 F.2d 1077, 1087 (6th Cir. 1991) (“The district court

must have considerable discretion in controlling the mode and order of

the proof at trial.”). And under Rule 611(a), courts have long permitted

the government to recall its witnesses—including its case agent—where

necessary to present the evidence effectively. United States v. Butera, 677

F.2d 1376, 1381 (11th Cir. 1982); United States v. Jackson, 549 F.2d 517,

528–29 (8th Cir. 1977); United States v. Dimora, 843 F. Supp. 2d 799,

822–23 (N.D. Ohio 2012).

      SA Alley will testify to the phone extractions in this case. Amy

Allen will testify to child sexual abuse trauma. As the Court is aware,

“the court should not, in the presence of the jury, declare that a witness

is qualified as an expert or to render an expert opinion, and counsel

should not ask the court to do so.” United States v. Johnson, 488 F.3d

690, 697 (6th Cir. 2007). “Instead, the proponent of the witness should

pose qualifying and foundational questions and proceed to elicit opinion

testimony. If the opponent objects, the court should rule on the objection,

allowing the objector to pose voir dire questions to the witness’s


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qualifications if necessary and requested.” Id. See also United States v.

Ledbetter, 929 F.3d 338, 349 (6th Cir. 2019). Consequently, the jury

instructions refer to ‘opinion witnesses’ rather than ‘expert witnesses.’”

         D.    Transcripts to aid the jury

      The Sixth Circuit approves of using transcripts at trial to assist

the jury in understanding the audio portions of certain exhibits such as

recorded interviews, videos, or jail calls. United States v. Scarborough,

43 F.3d 1021, 1024 (6th Cir. 1994). The United States will ask the Court

to read the Sixth Circuit Pattern jury instruction to the jury prior to

playing the first media exhibit containing a transcript aid, and again

during the final jury instructions:

                     Transcriptions of Recordings

   (1) You are about to see and hear recordings that were received in

     evidence, and you will see some written transcripts scrolling on the

     screen.

   (2) Keep in mind that the transcripts are not evidence. They were

     given to you only as a guide to help you follow what is being said.

     The recordings themselves are the evidence.         If you notice any

     differences between what you hear on the tapes and what you see in


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     the transcripts, you must rely on what you hear, not what you read.

     And if you cannot hear or understand certain parts of the recordings,

     you must ignore the transcripts as far as those parts are concerned.

   (3) This instruction applies to all recordings you will see and hear

     during this trial.

Sixth Circuit Pattern Jury Instruction 7.17 (modified to present tense;

recordings and not tapes; application to all recordings)

          The United States will provide the Court with extra copies of the

instruction prior to playing the first media item. And the government

has disclosed the transcripts to defense in advance of trial to compare

with the audio so that any inaccuracies in the transcripts can be

challenged before trial. See United States v. Segines, 17 F.3d 847, 854-

55 (6th Cir. 1994) (outlining procedures for transcript disagreements).

   III.     Potential legal issues at trial

            A.    Consent is not a defense

          In order to prove a violation of production of child pornography

under 18 U.S.C. § 2251(a), the government must show that the material

in question depicted a minor engaged in sexually explicit conduct. The

Sixth Circuit has held that children cannot consent to sexual assaults


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against themselves or by others, and therefore, consent is not a defense.

See United States v. Wise, 278 Fed. Appx. 552, 559 (6th Cir. 2008) (citing

United States v. Abad, 350 F.3d 793, 798 (8th Cir. 2003) (“The reason is

that the victims in these cases, because of ignorance or deceit, do not

understand what is happening to them. Therefore, their ‘consent’ is of no

significance.”). See also, United States v. Raplinger, 555 F.3d 687, 691-

92 (8th Cir. 2009). This is true even if the child is considered of legal age

to participate in the sexual act. United States v. Bach, 400 F.3d 622, 628

(8th Cir. 2005).

         B.     Jury nullification arguments should be prohibited

      The defendant should not be allowed to offer evidence or argument

that relates only to jury nullification. This includes:

         • References to Michigan’s age-of-consent laws for sexual

              contact with 16-year-olds (see United states v. Walsh, 654 Fed.

              Appx. 654, 689 (6th Cir. 2016) (“Satisfaction of state law is not

              a defense to breaking federal law”); United States v. Laursen,

              847 F.3d 1026, 1031 (9th Cir. 2017) (Congress may regulate

              child pornography regardless of state consent age); and MCL




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            § 750.145c (creating child pornography with a child under age

            18 is a felony under Michigan law));

         • Arguing for acquittal based on constitutional violations (see

            United States v. Krzyske, 836 F.2d 1013, 1021 (6th Cir. 1988)

            (parties may not argue or instruct the jury to nullify the law));

         • Presenting evidence and argument that defendant lacked the

            mens rea to commit the crime due to voluntary intoxication

            (see United States v. Kimes, 246 F.3d 800, 806 (6th Cir. 2001)

            (diminished capacity only available to specific intent crimes);

            Fed. R. Crim. P. 12.2(b) (requiring notice of expert evidence of

            a mental condition); Fed. R. Evid. 704(b).

      Along the same lines, the defendant should be prohibited from

offering evidence relevant only to his character or life experiences, such

as evidence of his upbringing or behavior in relationships with persons

other than MV-1, his ignorance of the law, or MV-1’s character, life

experiences, or prior sexual history. By way of illustration of the last

point, it would be improper for the defendant to argue that he should be

acquitted of the charged crimes because MV-1 initially agreed to engage

in the activity, because she had opportunities to cease, or because she


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received some benefits from it. See, e.g., United States v. Mack, 2014 WL

356502, at *3-6 (N.D. Ohio Jan. 31, 2014).

      A defendant has no right to ask a jury to disregard the court’s

instructions on the law and nullify a prosecution by returning a verdict

of not guilty even when it is persuaded by the evidence of a defendant’s

guilt. See Krzyske, 836 F.2d at 1021 (approving the following district

court’s response to a jury question about nullification: “[t]here is no such

thing as valid jury nullification. … You would violate your oath and the

law if you willfully brought in a verdict contrary to the law given you in

this case.”); see also United States v. Sepulveda, 15 F.3d 1161, 1190 (1st

Cir. 1993) (“A trial judge … may block defense attorneys’ attempts to

serenade a jury with the siren song of nullification … .”).

      Court orders precluding this type of evidence or argument are

routinely granted in this district and circuit. See, e.g., United States v.

Duval, 865 F. Supp. 2d 803, 808-09 (E.D. Mich. 2012) (Lawson, J.); United

States v. Walsh, 2016 WL 3595719, at *5-6 (6th Cir. June 29, 2016);

United States v. Feiger, 2008 WL 996401, at *7 (E.D. Mich. Apr. 8, 2008)

(Borman, J.); United States v. Jones, 2013 WL 5777684, at *2 (E.D. Tenn.




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 Oct. 25, 2013); United States v. Rabinowitz, 2012 WL 3150959, at *2 (S.D.

 Ohio Aug. 2, 2012).


          C.    Defendant’s out-of-court statements to law enforcement
                are inadmissible hearsay if offered by the defendant.

       The defendant was interviewed twice at the Taylor Police station

 during this investigation. Taylor police recorded both interviews. Both

 times, the defendant made several self-serving statements, denying his

 behavior.

       Federal Rule of Evidence 801(d)(2)(A) classifies admissions by

 party-opponents as non-hearsay when the “statement is offered against

 a party and is the party’s own statement, in either an individual or

 representative capacity…” Therefore, the proponent of an out-of-court

 statement must satisfy two requirements: (1) that the statement is made

 by a party; and (2) that the statement is offered against that party in

 order for the statement to constitute non-hearsay. See Fed. R. Evid.

 801(d)(2)(A). Accordingly, the defendant’s statements are non-hearsay

 when offered by the government, but a defendant cannot introduce his

 own statements through his own testimony or the testimony of other

 witnesses. See United States v. Holden, 558 F.3d 698, 706 (6th Cir. 2009).


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       Some of the defendant’s statements consist of a flat-out denial of

 his conduct. Defendant’s out-of-court statements constitute inadmissible

 hearsay if offered by the defense. See Fed. R. Evid. 801(c). The defendant

 should not be allowed to introduce—or refer—to any self-serving

 statements, either through his own testimony or through the

 examination of other witnesses because it is inadmissible hearsay. For

 example, defense counsel should not be allowed to ask questions such as,

 “didn’t the defendant say he did not sexually touch any child?” or “didn’t

 the defendant make a statement to you denying his conduct?” Such

 questions infer to the jury that the defendant has made exculpatory

 statements to law enforcement that the government is suppressing from

 evidence. Such inferences would do nothing but mislead the jury as to

 the facts of the case.

       In contrast, the Court should allow the government to retain the

 ability to introduce any of the defendant’s statements as the admissions

 of a party-opponent pursuant to Federal Rule of Evidence 801(d)(2).1 See

 United States v. Bravata, No. 11-CR-20314, 2013 WL 692955, at *1 (E.D.

 Mich. Feb. 26, 2013) (Borman, J.) (“A critically important distinction


 1 If Defendant testifies, his statements to law enforcement may additionally qualify

 as prior inconsistent statements for purposes of impeachment.
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 exists, however, in the non-hearsay nature of such of such [sic]

 statements when offered by the Government against [Defendant] and the

 classic hearsay nature of such statements when they are offered by the

 defendant himself. In the former case, the statements are the non-

 hearsay admissions of a party opponent under Fed.R.Evid. 801(d)(2)(A).

 When offered by the defendant, such statements are classic, self-serving

 inadmissible hearsay. It is well accepted that ‘a party’s own statement is

 admissible as non-hearsay only if it is offered against that party.’”

 Stalbosky v. Belew, 205 F.3d 890, 94 (6th Cir.2000).

       If the government decides to introduce certain of the defendant’s

 out-of-court statements, such introduction still does not open the door for

 the defendant to himself introduce other statements he made—either

 through his own testimony or through the examination of other

 witnesses. See United States v. McDaniel, 398 F.3d 540, 545 (6th Cir.

 2005) (“Rule 801(d)(2), however, does not extend to a party’s attempt to

 introduce his or her own statements through the testimony of other

 witnesses.”) (internal citations omitted and emphasis in original); United

 States v. Gallagher, 57 F. App’x 622, 628-29 (6th Cir. 2003) (“The trial

 court properly concluded that the admitted part of Gallagher's


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 statement—his admissions that he was a felon, knew that he was not to

 possess a firearm, and that his female companion had nothing to do with

 the crime—did not require appellant's additional self-serving exculpatory

 comments for completeness. . . . As this circuit has observed, ‘the

 completeness doctrine embodied in Rule 106 should not be used to make

 something admissible that would otherwise be excluded.’”) (internal

 citations omitted).

       This    Court   should   preclude    Defendant    from    introducing

 inadmissible hearsay statements he made to law enforcement—either

 through his own testimony or through the examination and cross-

 examination of other witnesses.

          D.    Witnesses cannot be impeached by other peoples’ reports.

       There are several reasons why Childers’ counsel cannot use one

 witness’ statements or reports to impeach another who testifies at trial.

 First, the Sixth Circuit has held that “it would be grossly unfair to allow

 the defense to use a statement to impeach a witness which could not

 fairly be said to be the witness’ own rather than a product of the

 investigator’s selections, interpretations, and interpolations.” United

 States v. Carroll, 26 F.3d 1380, 1391 (6th Cir. 1994). To permit cross-


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 examination of agent witnesses using another’s report would be unfair,

 and not “impeachment.” Each report is that agent’s own prior statement,

 and not the statement of other agent witnesses.

       Second, an agent’s report would be hearsay when presented to

 another witness. The Federal Rules of Evidence define a “statement” as

 “an oral or written assertion” (or nonverbal conduct intended as an

 assertion). Fed. R. Evid. 801(a). A “declarant” is a person who makes a

 statement. Fed. R. Evid. 801(b). A statement other than one made by the

 declarant at the trial, offered to prove the truth of the matter asserted, is

 “hearsay.” Fed. R. Evid. 801(c). Subject to enumerated exceptions,

 hearsay evidence is inadmissible. Fed. R. Evid. 802.

       Third, Federal Rule of Evidence 613 deals with impeachment of a

 witness by reference to a prior statement by that witness. Rule 613

 requires that the statement in question be “a prior statement made by

 the witness[.]” Fed. R. Evid. 613(a). Under Rule 613, a witness can only

 be impeached by reference to his own prior statement, and not a prior

 statement made by another. United States v. Valentine, 70 Fed. Appx.

 314, 323 (6th Cir. 2003) (unpublished) (abrogated on other grounds,

 United States v. Camcacho-Arellano, 614 F.3d 244 (6th Cir. 2010).


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    IV.     Potential rebuttal case by the government

          If the defendant puts on a case to the jury, the government

 respectfully requests the opportunity to present rebuttal evidence in the

 form of a rebuttal case after the defense rests.

          Rebuttal evidence serves to “‘rebut new evidence or new theories

 proffered in the defendant’s case-in-chief,’ and is not limited by the fact

 that the plaintiff could have introduced the proffered evidence in his case-

 in-chief.” United States v. Caraway, 411 F.3d 679, 683 (6th Cir. 2005),

 quoting Benedict v. United States, 822 F.2d 1426, 1428 (6th Cir. 1987);

 see also United States v. Reynolds, 626 F. App’x 610, 618 (6th Cir. 2015).

          The government has no duty to anticipate the defense or “to negate

 in its own case-in-chief a theory that would be later raised” by the

 defendant. Benedict v. United States, 822 F.2d 1426, 1430 (6th Cir. 1987).

 A district court has broad discretion to determine the scope of rebuttal in

 admitting evidence. Caraway, 411 F.3d at 683.

          The defendant has been charged with serious offenses relating to

 child pornography.       The government cannot anticipate every single

 defense that may be offered at trial. Moreover, certain testimony by a

 defense case may necessitate rebuttal witnesses. Thus, the government


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 respectfully requests that this Court reserve time for the government to

 present a rebuttal case if the defendant puts on a case in chief.

    V.     Conclusion

         The evidence at trial will show that the defendant, using materials

 in interstate and foreign commerce, persuaded, induced, coerced, and

 enticed MV-1 to make sexually explicit images and videos for him. He

 produced child pornography with her while engaging in sex acts with her.

 He also received several sexually explicit images and videos—at his

 request—via social media and internet-based communications.

                                    Respectfully submitted,

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 Dated: 6/6/2023




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                            Certificate of Service

       I certify that on June 6, 2023, I electronically filed the foregoing

 Trial Brief with the Clerk of the Court using the ECF system which will

 send notification of such filing to the following:


                            Mark H. Magidson
                            Defendant Attorney


                                           s/Margaret M. Smith
                                           Margaret M. Smith
                                           Assistant U.S. Attorney
                                           United States Attorney’s Office




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